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                               EXHIBIT A
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                                                                                                                                                                                                                                                                             Bases of
                                           Type of
Log #   GX          Description                        Date         Declarant(s)                                                                                         Statement(s)                                                                                      801(d)(2)(E)        History
                                          document
                                                                                                                                                                                                                                                                           admissibility
                                                                                     SK: Hello Don,                                                                                                                                                                            A, L      Little's
                Email chain between                                                                                                                                                                                                                                                      statement
               Jimmie Little and Dean                                                I have attached Church’s Chicken new QA Requirements for 2014 for your information. Please contact me with any questions.                                                                           received as
                 Bradley on or about                                                                                                                                                                                                                                                     party admission.
 1‐S    247                                E‐mail    12/23/2013     Jimmie Little
                12/23/2013 attaching                                                 DA: FYI
               PDF (PILGRIMS-DOJ-
                   0002258077).                                                      JL: We need to discuss this!

                                                                                     [Mr. Ledford's statements admissible for the non‐truth purpose of their effect on the recipient.]                                                                                       A, B, H, I   Defendant
                                                                                                                                                                                                                                                                                          Austin's
                                                                                     We can talk in the morning after I do some scouting.                                                                                                                                                 statement
                 Email chain between                                                                                                                                                                                                                                                      admitted only
                 Scott Tucker, Roger                                                                                                                                                                                                                                                      against Austin.
                Austin, Justin Gay, and
 2‐S    1713                               E‐mail    11/18/2013     Roger Austin
               Mike Ledford on or about
               11/19/2013 (PILGRIMS-
                    0005254544).




                                                                                     JL: Dean attached is our proposed costing for 2014. As previously discussed we would like to keep our current DC’s as well as pick up the Caro business. We also have more               A, B,       Witness was not
                                                                                     availability out of Chattanooga with some capital improvements. Tommy and I are available whenever you would like to have a call or I can come to Atlanta and we can get                             called.
                                                                                     Tommy on a call as he cannot travel due to his recent surgery.
                Email chain between
               Jimmie Little, Thomas                                                 DB: In looking at your cost plus, you have a $0.0205/lb increase in your cost model for 2014. I can tell you that I have suppliers already in with decreases in cost for next year.
               Lane, Jason McGuire,                                                  You have been telling me that you want more business for next year so I’m a little shocked to see this huge increase. I would politely suggest that you go back and take a long
                                                                    Jimmie Little
 3‐S    6179    and Dean Bradley on        E‐mail    10/28/2013                      hard look at this.
                                                                    Thomas Lane
               or about 10/28/2013
                    (PILGRIMS‐                                                       JL: ?
                   0006841221).
                                                                                     TL: You think he is bluffing?????

                                                                                     JL: I know 1 who improved wog yield, 1 who increased price, and no clue on 1
                                                                                     RA: I received a call from Mike Ledford today that we need to talk about.                                                                                                                 A, H       New Exhibit

                                                                                      The franchisee that bought the Atlanta market wanted to know what his options were for purchasing chicken. When Steven, who works for Mike, did the comparisons,
                                                                                     including direct delivery by other companies and third party distributors we were the highest delivered in price he could get, in some cases quite a bit higher. Mike wanted to
                                                                                     let me know that before he shared it with the franchisee. He is going to give them the numbers tomorrow so he wanted to give me a chance to do whatever we wanted to do if
                                                                                     anything.

                                                                                      You and I have discussed what the issue is and that is that our case weights are the highest of anyone in the system by about ½ pound per case. Mike thinks we need to fix
                                                                                     that to be in a more competitive situation across the board. He thinks it is just a matter of time before he gets more calls.

               Emails between Roger                                                   Here’s the math: In the first 4 weeks of this year we have sold on average, system wide, 47,289 cs./week which is at ½ pound per case 23,645 #. At January’s price at .9612 that
               Austin and Jayson Penn
                                                                    Roger Austin     would be $22,727 per week or $1,181,804 per year. If we don’t do anything I think we are in jeopardy of losing that business and we could also begin to get dinged in other
 4‐S    9869    on or about 1/27/2012      E‐mail    1/27/2012
                    (PILGRIMS-
                                                                    Jayson Penn      places because news travels fast.
                    0005827819).
                                                                                     He didn’t ask for anything on dark meat where we are 3 pounds per box heavier than most of the competition. I have confirmed that these numbers are accurate. I also
                                                                                     believe they have multiple options cheaper than we are right now. I have to leave for an appointment in a few minutes but will be available later tonight or in the morning to
                                                                                     discuss. These stores purchase in Atlanta are about 625,000 pounds per month.

                                                                                     JP: What does the .5 lb represent in c/lb? Dont understand. Did we not negotiate the price and case weights in conjunction with each other?

                                                                                     RA: About 1 cent per pound. The price is calculated on the margin over feed every month. The case weights can be adjusted every quarter. Every other supplier is right at the
                                                                                     45.5 case weight and we are at 46. We held our ground there last year which was a very negative battle. Mike didn’t have any other options then. Today he does. One thing that
                                                                                     is probably pushing this is that Claxton is 2.33 cents cheaper than we are on the price side and a ½ pound per case lighter. That is 3.4 cents per pound. That is a lot of money to
                                                                                     a guy that just bought 55 stores.
                                                                                     BR: I think this is the model you need for comparison. What do you think the possibility is that we can get some level of commitment on what you want to do by the end of the            A, E, G     Admitted.
                                                                                     week?                                                                                                                                                                                                Roberts and
                                                                                                                                                                                                                                                                                          Mulrenin
                                                                                     RE: If I get this right (before I speak to Pete…)                                                                                                                                                    statements as
                                                                                                                                                                                                                                                                                          party
                                                                                     1.  You want an increase in margin from $0.075/lb to $0.16/lb PLUS                                                                                                                                   admissions and
                                                                                     2.  You want to be paid for the 10% target marination pick‐up (roughly another $0.14‐$0.15/lb) PLUS                                                                                                  remaining
                                                                                     3.  You want to take out 48 hr drain weights (worth about $0.036/lb) PLUS                                                                                                                            statements for
                                                                                     4.  You want to take out all upper case weights to the top of the allowable cut weight range (worth up to another 8.8 or so lbs per case which, round                                                their effect on
                                                                                     number, on your proposed model @ $0.9881 = $0.14 to $0.15/lb.                                                                                                                                        the recipient.
               Email chain between Tim
                Mulrenin, Carl Pepper,                                               Grand total I come up with a price in period 7 from the current $0.9436 to somewhere around $1.30 to $1.32/lb if I’m adding it all up correctly.                                                     Not on James
                 Brian Roberts, Mark                                                                                                                                                                                                                                                      Log
                  Milbrodt, and Tim                                 Brian Roberts
 5‐S    9703                               E‐mail    8/13/2014                     You trying to get me fired before I even move here??
                  Scheiderer, among                               Timothy Mulrenin
                                                                                   Seriously‐ recap the “reality” of what you are asking for and tell me where I’m missing something if I am. Let’s discuss tomorrow.
                  others, on or about
                   8/13/2014 (TY-
                     000128401).                                                     BR: Start preparing a response. We can review this afternoon.

                                                                                     TM: I’m with a customer. Can you guys get together on this today? Just work right from the deck and wordsmith it.

                                                                                      I’ll be available this afternoon.

                                                                                     *REVISED*

                                                                                     1.      Margin will increase from $0.075 to $0.160

                                                                                     a.      Consistent with current average margins for small bird equivalent/competing sales


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                                           Type of
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                                          document
                                                                                                                                                                                                                                                                                          admissibility
                                                                                   Joe after our last conversation I would like for you to consider the following and let us know your thoughts.                                                                                              A, E      Not on James
                                                                                                                                                                                                                                                                                                        Log
                                                                                      1. Pricing delivered to Kelly Foods for the Splits $1.07/#.

                                                                                      2. Case Weights to be determined from the previous Quarters average.

                                                                                      3. Increase in Volume between 500K to 1M# on the Splits.
                 Email between Walter
                 Cooper and Joe Brink                                                 4. Step Pricing in 2014:
                  dated on or about
 6‐S    9730                               E‐mail    9/22/2014     Walter Cooper
                      9/22/2014                                                       Oct 1 increase $0.05/#
               (POLCHKED000008414
                          1).                                                         Nov 1 increase $0.05/#

                                                                                      Dec 1 increase $0.05/#

                                                                                      Jan 1, 2015 increase $0.04/#

                                                                                      Joe please look this over and let us know if there are any questions. I regret that our schedules would not allow us to
                                                                                      meet face to face later this week. Take care and I will follow up in a few days.
                                                                                   JB: Walter, I am still giving oxygen to the folks at Polio Tropical over the increase of ~;0.19 per pound delivered on the chicken. They do not want to start the price increase until next year. Is       A, E     Claxton did not
                                                                                   there any way we stair step the increase starting in January?                                                                                                                                                       produce this
                                                                                                                                                                                                                                                                                                       document until
                                                                                   WC: Joe we were able to source Freight Rates lowering the price by a penny. So that would put us at                                                                                                                 mid trial.

                                                                                     $1.06/# delivered.
                                                                                                                                                                                                                                                                                                       Not offered into
                                                                                                                                                                                                                                                                                                       evidence.
                                                                                     Please consider the following:

                                                                                     December 1 go up a dime                                                                                                                                                                                           No previous
                                                                                                                                                                                                                                                                                                       opportunity to
                                                                                     January 1 go up eight cents                                                                                                                                                                                       present on
                 Email chain between                                                                                                                                                                                                                                                                   James Log.
                Walter Cooper and Joe                                                ‐or‐
                Brink dated on or about
 7‐S    9739                               E‐mail    10/13/2014    Walter Cooper
                      10/13/2014                                                     This option I will have to get cleared.
               (POLCHKED000013306
                          0).                                                        Do a two year price agreement ending December 2016.

                                                                                     January 1,2015 do a dime increase

                                                                                     April 1,2015 do an eight cent increase

                                                                                     ‐or‐

                                                                                     Your thoughts?

                                                                                     We want to get this done as quick as possible so please let me know your thoughts.

                                                                                   WC: Joe we apologize for any misunderstanding concerning step pricing but please see our email below sent on 10‐2‐2014
                                                                                   [[Joseph Brink's statements for the non‐truth purpose of their effect on the recipient]]                                                                                                                  A, B, E   Norman Fries
                                                                                                                                                                                                                                                                                                       Company d/b/a
                                                                                   WC: Joe after our last conversation I would like for you to consider the following and let us know your thoughts.                                                                                                   Claxton Poultry
                                                                                                                                                                                                                                                                                                       did not produce
                                                                                      1. Pricing delivered to Kelly Foods for the Splits $1.07/#.                                                                                                                                                      this document
                                                                                                                                                                                                                                                                                                       until mid trial.
                                                                                      2. Case Weights to be determined from the previous Quarters average.
                                                                                                                                                                                                                                                                                                       Received into
                                                                                      3. Increase in Volume between 500K to 1M# on the Splits.                                                                                                                                                         evidence.

                                                                                      4. Step Pricing in 2014:                                                                                                                                                                                         No previous
                 Email chain between                                                  Oct 1 increase $0.05/#                                                                                                                                                                                           opportunity to
                Walter Cooper and Joe                                                                                                                                                                                                                                                                  present on
                Brink dated on or about
 8‐S    9740                               E‐mail    9/22/2014     Walter Cooper      Nov 1 increase $0.05/#                                                                                                                                                                                           James Log.
                      9/22/2014
               (POLCHKED000013395
                          4).                                                         Dec I increase $0.05/#

                                                                                      Jan 1, 2015 increase $0.04/#

                                                                                     Joe please look this over and let us know if there are any questions. I regret that our schedules would not allow us to meet face to face later this week. Take care and I will
                                                                                   follow up in a few days.

                                                                                   JB: This is a larger increase than Pilgrims. I thought CIaxton was going to work with us? If we are paying these higher prices, we will not pay for more than our spec allows.

                                                                                   WC: Joe we will not be able to invoice Kelly for anything over the spec range but the weight will run to the high side of the spec. We do not want to give anyone the
                                                                                   impression we will not work with them but the considerations we sent you earlier were in line with other Brands. Pilgrim should be your lowest cost supplier as they have more
                                                                                   pounds to spread their cost over and more pounds to sale than we do. We have to be very careful, especially in a fixed agreement, who we partner with. We only have so
               Handwritten notes of                                                           d Margin"
                                                                                   "Key Customer   dh        d → 61b
                                                                                                           2.18               l     h           l                                                                                                                                             A, B     Not offered.
                   Jayson Penn                       In or about                   Industry Coming off on Price
 9‐S    1968                               Notes                    Jayson Penn
                    (PILGRIMS‐                        Feb 2017                     PPC → holding                                                                                                                                                                                                       Not on James
                  0009771147).                                                                                                                                                                                                                                                                         Log.
               Handwritten notes of                                                [Chart of volumes at QSR customer, likely KFC, for Pilgrim's, Koch, George's, Tyson, Mar‐Jac, Claxton, and Case for 8 piece COB and dark meat along with market shares.]                                   A, B     Not offered.
                   Jayson Penn                       In or about
10‐S    1966                               Notes                    Jayson Penn
                    (PILGRIMS‐                        Feb 2017                                                                                                                                                                                                                                         Not on James
                  0009771048).                                                                                                                                                                                                                                                                         Log.



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                                       document
                                                                                                                                                                                                                                                                    admissibility
               Handwritten notes of                                                [Chart of volumes for a QSR customer, for Pilgrim's, Koch, George's, Tyson, Mar‐Jac, Claxton, and Case.]                                                                             A, B      Not offered.
                   Jayson Penn                    In or about
11‐S    1967                            Notes                     Jayson Penn
                    (PILGRIMS‐                     Feb 2017                                                                                                                                                                                                                         Not on James
                  0009771049).                                                                                                                                                                                                                                                      Log.
                                                                                   KFC 7mm Nat                                                                                                                                                                          A, B        Not offered.
                                                                                   80 loads additional
                                                                                   PPC 50                                                                                                                                                                                           Not on James
                                                                                   TSN 15‐20                                                                                                                                                                                        Log.
             Handwritten notes by
                                                                                   Geo 15‐20
               Bill Lovette dated
12‐S    1969                            Notes     2/20/2017        Bill Lovette    Koch 15‐20
             2/20/2017 (PILGRIMS‐
                                                                                   Mar‐Jac 15‐20
               DOJ‐0000509907).
                                                                                   Case
                                                                                   Claxton
                                                                                   OKF
                                                                                   TOT 185
                                                                                   Costco                                                                                                                                                                               A, B        Not offered.
                                                                                   Perdue
             Handwritten notes by                                                    3.8‐4.0 Bil Sales                                                                                                                                                                              Not on James
13‐S    6345 Bill Lovette (PILGRIMS‐    Notes      8/4/2014        Bill Lovette    Branded CR Lower Margin                                                                                                                                                                          Log.
                   0009770286).

                                                                                   [Chart of volumes at Chick‐Fil‐A for Pilgrim's, Tyson, Perdue, Wayne Farms, and Claxton, along with market shares.]
                                                                                   ST: Jayson,                                                                                                                                                                     A, B, E, F, G, H, Not previously a
                                                                                            Please see the attached spreadsheet showing the impact of reducing eight piece price and also proposed numbers on the FP wings.                                              K, P        GX. Government
                                                                                                                                                                                                                                                                                     offered this
                                                                                   JP: Do we have TSN price idea?                                                                                                                                                                    exhibit, marked
                                                                                                                                                                                                                                                                                     as E‐570 as part
                                                                                   RA: I can give you an educated guess. They are currently .0025 below George's. so I would guess they are around .96 flat. If they came in more aggressively like they did at                      of Rule 106
                                                                                   Church's they could be lower but I don't think they would do that because they have all the direct delivery KFC they want and they were trying to buy into direct delivery to                     ruling. Austin e‐
              Email chain between
                                                                                   Church's in those same areas. So I don't think they got overly aggressive.                                                                                                                        mail received
              Roger Austin, Jayson
                                                                                                                                                                                                                                                                                     with limiting
               Penn, Scott Tucker,                                Scott Tucker
                                                                                                                                                                                                                                                                                     instruction for a
14‐S    1446 and Jason McGuire on       E‐mail    11/30/2012      Jayson Penn
                                                                                                                                                                                                                                                                                     party admission.
             or about 11/30/2012                                  Roger Austin
                (PILGRIMS‐DOJ‐
                                                                                                                                                                                                                                                                                    Initial e‐mail
                 0000513769).
                                                                                                                                                                                                                                                                                    (from Mr.
                                                                                                                                                                                                                                                                                    Tucker) was
                                                                                                                                                                                                                                                                                    James Log entry
                                                                                                                                                                                                                                                                                    35 (Court ruled
                                                                                                                                                                                                                                                                                    the statement
                                                                                                                                                                                                                                                                                    was
                                                                                                                                                                                                                                                                                    801(d)(2)(E)).
                  E‐mails between                                                  TM: Tim, This is really a follow up to my RSCS recap. Can we get together to discuss responses?                                                                                     A, G, P      Not previously a
                 Timothy Mulrenin,                                                                                                                                                                                                                                                  GX.
                Timothy Scheiderer,
15‐S    1252                            E‐mail    8/11/2014     Timothy Mulrenin
                 and Brian Roberts
               dated 8/19/2014 (TY‐
                    001035733)
                                                                                   RL: Pete/Greg:                                                                                                                                                                       A, F        Not previously a
                                                                                                                                                                                                                                                                                    GX.
                                                                                   Thanks for a very productive meeting on August 6. You can see that RSCS has a very different mindset concerning supplier relationships, and is taking a totally different
                                                                                   approach to negotiations versus prior years. Going forward, we know that transparency and a sincere willingness to “give and take” will help us form true partnerships.
                                                                                   Hopefully, you saw this in action in this preliminary meeting.

                                                                                   During our discussions, we requested that you provide the following:
                                                                                     ∙ Recommended specification to maximize the production and supply of 8‐piece COB for KFC
                                                                                     ∙ Summary of Mar‐Jac’s experience with KFC QA to include the impact on cost and supply versus our competitors
                                                                                     ∙ Realistic cost model in an abbreviated form to include line items for those components most susceptible to change
                                                                                     ∙ Plan for dealing with case billing weights
               Email chain between
                                                                                     ∙ Information as to how a 12 day shelf life could improve efficiency, supply, etc.
                  Greg Tench and
                                                                                     ∙ Key points that Mar‐Jac would include in a three‐year agreement
                Robert Lewis on or
16‐S    1253                            E‐mail    8/14/2014       Greg Tench         ∙ Number of pounds, or truckloads, of purple and red label product you can supply beginning in 2015, assuming we have agreement on price
                 about 8/14/2014
                    (MJPoultry‐
                                                                                   Please provide the information by Tuesday, August 19.
                   0000077703).
                                                                                   RL: Greg – After you provide the information requested below, we will be in a position to negotiate our final agreement. As
                                                                                   discussed this morning, we would like to do that with you guys in the same room with us. We have slots open the week
                                                                                   of August 25 as follows: 25th, 27th and 28th. Please select a date and time and let me know. Thanks, Bob

                                                                                   GT: Will do

                                                                                   RL: The 25th is booked, the 26th is open only in the afternoon, the 27th is open all day, and only the afternoon of the 28th is
                                                                                   still open. Let me know as soon as you can. Thanks

                                                                                   GT: Put us down for the 27 th. 11 am




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                                         document
                                                                                                                                                                                                                                                                           admissibility
                                                                                     DB: David,                                                                                                                                                                            A, B, F, G, H, I Not a GX.

                                                                                     On Friday Mike asked that I reach out to you to give you explanation around our cost changes for the back half of the year. Since then we have scheduled a call for Tuesday
                                                                                     morning, but wanted to go ahead and forward you some information, and we can discuss any additional questions you may have at that time.

                                                                                     As you know, we are currently supplying under a 6 month pricing agreement; that provides for the revision of costing for the back half of the year. We provided pricing for the
                                                                                     back half of the year to Mike on 8/8, with a requested effective date of 8/22. This pricing reflects increases driven by market cost increases on raw material inputs as well as
                                                                                     supply and demand impacts on small bird availability. Some of these influences and cost impacts on the prepared business were discussed during the meeting with Chad Baker
                                                                                     on 8/4.

                                                                                     Since the business was priced last Fall, the whole bird composite cutout has increased by 25c per pound (35%), the wing market has increased 26c (24%), the boneless breast
              Email chain between                                                    market has increased 54c (40%) and the tender market has increased by 98c (71%). Many of these increases experienced this year have exceeded last years highs and have
               Bill Lovette, Jayson                                                  resulted in higher input costs. The other market dynamic that we have discussed with your team is around the small bird segment of the market and the extremely tight and
17‐S    1258 Penn, and Chad Baker         E‐mail    8/26/2014     William Lovette    limited availability of product. Costs have increase 40% on the raw material for the 8pc MRB product; a cost that is reflected in our finished goods. The tight supply and limited
             on or about 8/26/2014                                                   availability has driven cost up on the small WOGs and MRB far in excess of anything we expected when the product was priced for the first 6 months.
              (PENN‐0000000212).
                                                                                     The pricing that has been submitted reflects these influences. We understand the impact that this has on the business, and as a long term supplier, we will make adjustments if
                                                                                     market dynamics and inputs change. We appreciate the business and the relationship that we have with your team. We are committed to supporting your business in anyway
                                                                                     that we can. Please let me know if you have any questions or need additional information.

                                                                                     CB: I just hung up with David B. As you are aware he has David Hall at 11:30 CST tomorrow. He also said the buyer called and he is not happy. Doesn’t matter. We are holding
                                                                                     our position and I told David B that I would call David H tomorrow if their call does not go well. I still expect the price increase to be accepted and shipping at the new price
                                                                                     with the next set of orders placed.

                                                                                      WL: We have delivered similar increases now to KFC, Church’s, Walmart (93), Sam’s Club, etal… There’s no backing up here and is not negotiable. The raw price is in place
                                                                                     ($1.20) and in order to continue to ship finished product, this increase must be executed. Based on needs in the market, we are analyzing converting a small bird op (most likely
                                                                                     Natchitoches) to either Case Ready or large bird debone. In the past 10 years, only one (2011) has occurred where small birds have been competitive. We can no longer serve
                                                                                      h Iiam
                                                                                     JP:   d on thei plane
                                                                                                     h h too…Roger
                                                                                                            i    d hid you
                                                                                                                        b hi
                                                                                                                           candjoin
                                                                                                                                 h us.
                                                                                                                                    b dh f               f li hil i i       $       h di        fi                                                                             A, H       Not a GX.

                                                                                     RA: I think we will know this week at the latest early next week. I have a call in to Pete to confirm no change and that we need to know how many loads they intend to
                                                                                     purchase.

                                                                                     WL: When will we know our volume for next year? I just booked the plane to go to Natchitoches Sept 29 and we will evaluate converting it to case ready.

                                                                                     RA: I already made that comment at lunch to them and will make sure they understand it.

                                                                                     WL: I suggest we do a couple things. One, begin to move some of the product in a different direction whether Popeyes or others and two, let them know that the chickens are
                                                                                     moving away and will not be coming back.
              Email chain between
               Jayson Penn, Roger
                                                                   William Lovette RA: The message I got was that they had booked 60 loads today at a nickel under our offer. I don't believe that. They understand and have no issue with us being the highest
             Austin, and Bill Lovette
18‐S    1256                              E‐mail     9/3/2014    Jayson Penn Roger price. just not a nickel high. They were calling Tyson this afternoon. I think there are some priced where we are and some in at about 2 1/2 cents less than we are.
             on or about 9/3/2014
                                                                        Austin
                 (PILGRIMS‐DOJ‐                                                    I told them you would be calling Steve and that I would also let you know what was said and would get back with them.
                  0002731134).
                                                                                     I am also under the impression they would give us a penny for the rest of the year to offset some of next year but that really does not do much.

                                                                                     WL: Steve called me back and I delivered the message. He was not happy about it and said we are an “outlier” on the high end and they will have to evaluate implications of our
                                                                                     decision. Told him we understand and recognized this in making the decision.

                                                                                     RA: The message I got was that they had booked 60 loads today at a nickel under our offer. I don't believe that. They understand and have no issue with us being the highest
                                                                                     price. just not a nickel high. They were calling Tyson this afternoon. I think there are some priced where we are and some in at about 2 1/2 cents less than we are.

                                                                                     I told them you would be calling Steve and that I would also let you know what was said and would get back with them.

                                                                                           l wrap
                                                                                     EO: You    d up hwith
                                                                                                        i church's?
                                                                                                               i    h          ld i               f     h      f h            ff           f          b    h       ll d        d       h                                      A, B, H     Not previously a
                  Text message from
                                                                                                                                                                                                                                                                                          GX.
                 Jimmie Little to Eric
        6337‐                                                                        JL: Neither Koch nor us have heard anything today. We are both expecting tomorrow.
19‐S               Oare on or about       Texts     11/11/2015      Jimmie Little
        6338
                11/11/2015 (PILGRIMS‐
                  DOJ‐0000001441).
                                                                                     Just finished a phone call for the ages... Steve McCormick UFPC... Their ask is 30-40 loads per week above base from now through August. Willing to "invest" whatever                   A, B, F, H   Not previously a
                 William Lovette text
20‐S    8098                              Texts     5/14/2014     William Lovette    necessary to secure supply. Will take frozen & fresh & a diff size in order to have product. Then I had call w Jason, Roger, Matthew etal with follow up tonight. Scheduled for                      GX.
                       message                                                       response to Steve tomorrow morning. 2014 Summer Chicken Wars have officially begun.
                                                                                     JL: Dean attached is our proposed costing for 2014. As previously discussed we would like to keep our current DC's as well as pick up the Caro business. We also have more                A, B,      Witness was not
                                                                                     availability out of Chattanooga with some capital improvements.                                                                                                                                      called.
                                                                                     Tommy and I are available whenever you would like to have a call or I can come to Atlanta and we can get Tommy on a call as he cannot travel due to his recent surgery.

                                                                                     DB: Jimmie,
                Email chain between
                                                                                     In looking at your cost plus, you have a $0.0205/lb increase in your cost model for 2014. I can tell you that I have suppliers already in with decreases in cost for next year. You
                Jimmie Little, Jayson
                                                                                     have been telling me that you want more business for next year so I'm a little shocked to see this huge increase. I would politely suggest that you go back and take a long hard
                Penn, Thomas Lane,
                                                                                     look at this.
                 Jason McGuire and                                  Jimmie Little
21‐S    9089                              E‐mail    10/31/2013
                 Dean Bradley on or                                 Jayson Penn
                                                                                     DB: Do you have any news on this?
                 about 10/31/2013
                   (PILGRIMS‐DOJ‐
                                                                                     JL: Do you have anytime to discuss this AM?
                    0002730925).
                                                                                     JP: Tied up in earnings follow‐up calls this am. Can do this afternoon. Suggest asking for details of which line items / details cost differences are taking place with our
                                                                                     competitors and then get with McGuire for his input.

                                                                                     JL: Already reaching out to McGuire. Just wanted you in the loop. Not sure we want to blink just yet!




                                                                                                                                               Page 4
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                                                                                                                                                                                                                                                                          Bases of
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Log #   GX          Description                         Date         Declarant(s)                                                                                       Statement(s)                                                                                    801(d)(2)(E)      History
                                         document
                                                                                                                                                                                                                                                                        admissibility
                                                                                      [[Mr. Simco's statements are not intended assertions and are offered for the purpose of their effect on the recipient]]                                                              A, B, H    Not previously a
                                                                                                                                                                                                                                                                                      GX.
                                                                                      CP: George’s is calling Church’s today and telling them they are getting out the end of the year. Rick told me he would call me this afternoon and let me know how
               Email chain between                                                    it went.
               Carl Pepper and Neal
22‐S    9743    Simco dated on or         E‐mail      9/7/2011        Carl Pepper     NS: Should we take our price up? Why are they leaving?
               about 9/7/2011 (TY‐
                    000000100).                                                       CP: Rick said everyone saying they are going to go to .28 back. I think George’s is getting out because they lost some of the dark meat they were getting from other suppliers.




                                                     6/14/2021                        Mr. Pepper was asked to obtain competitive information from competitors.                                                                                                             A, B, G       N/A
               Carl Pepper Interview     Interview                   Tim Mulrenin
23‐S    N/A                                           (date of
                Report 6/14/2021           Report                    Brian Roberts
                                                     interview)
                Carl Pepper Interview                2/12/2021                        Mr. Pepper told Messers Mulrenin and Roberts about his conversations with competitors regarding the common understanding among those competitors of a substantial price              A, B, H       N/A
                                         Interview
24‐S    N/A    Report 2/12/2021, at 1‐                (date of        Carl Pepper     increase to be greater than 10 cents.
                                           Report
                         2.                          interview)
                Carl Pepper Interview                2/12/2021                        Ric Blake told Mr. Pepper that he kept a list of prices in a notebook. Mr. Blake often asked Mr. Pepper what Tyson's prices were. Mr. Blake also shared other suppliers prices      A, B, E, F     N/A
                                         Interview
25‐S    N/A     Report 2/12/2021, at                  (date of         Ric Blake      with Mr. Pepper. Mr. Blake told Mr. Pepper the competitor prices came from Kelly Foods.
                                           Report
                         2.                          interview)
                Carl Pepper Interview                2/12/2021                        Mr. Pepper asked Mr. Blake if George's was comfortable with a two‐cent promotional discount.                                                                                        A, B, E, G     N/A
                                         Interview
26‐S    N/A    Report 2/12/2021, at 2‐                (date of        Carl Pepper
                                           Report
                         3.                          interview)
                Carl Pepper Interview                2/12/2021                        Mr. Blake would call Mr. Pepper to ask about customer contract pricing, mostly for Popeye's.                                                                                        A, B, E, F     N/A
                                         Interview
27‐S    N/A     Report 2/12/2021, at                  (date of         Ric Blake
                                           Report
                         3.                          interview)
                Carl Pepper Interview                2/12/2021                        Mr. Blake sought to determine if everyone would increase their prices more than 10 cents for 2015 contracts.                                                                          A, B, F      N/A
                                         Interview
28‐S    N/A     Report 2/12/2021, at                  (date of         Ric Blake
                                           Report
                         3.                          interview)
                Carl Pepper Interview                8/26/2020                        During a phone call on or about September 6, 2017 Mr. Blake stated to Mr. Pepper that George's was agreeing to a two‐year contract with Popeye's.                                   A, B, E, F     N/A
                                         Interview
29‐S    N/A     Report 8/26/2020, at                  (date of         Ric Blake
                                           Report
                         4.                          interview)
                                                     8/12/2020                        During 2014 Messers Pepper and Little spoke on the telephone. They mostly spoke about customers such as KFC, Popeye's, and Chcurch's. Their conversations invcluded                  A, B, E, I    N/A
                Carl Pepper Interview    Interview                    Carl Pepper
30‐S    N/A                                           (date of                        discussions about upcoming contracts.
               Report 8/12/2020 at 2.      Report                    Jimmie Little
                                                     interview)
                                                     8/12/2020                        In 2014, Mr. Pepper was asked to find out about price increases. He would report his findings to Mr. Mulrenin who would then tell Mr. Brian Roberts.                               A, B, D, G, H N/A
                Carl Pepper Interview    Interview                    Carl Pepper
31‐S    N/A                                           (date of
               Report 8/12/2020 at 2.      Report                  Timothy Mulrenin
                                                     interview)
               Carl Pepper Interview                 7/23/2020       Brian Roberts    In the summer of 2014, Mr. Pepper's superiors, Messers Roberts and/or Mulrenin, asked him to obtainted competitive information from Tyson's competitors.                            A, B, D, G     N/A
                                         Interview
32‐S    N/A    Report 7/23/2020, at                   (date of      and/or Timothy
                                           Report
                        2.                           interview)        Mulrenin
               Carl Pepper Interview                 7/21/2020                        Mr. Roberts instructed Mr. Pepper in 2014 to determine if Tyson's competitors were considering substantial price increases for 2015 contracts. Mr. Pepper contacted               A, B, D, E, G, H N/A
                                         Interview                   Brian Roberts
33‐S    N/A    Report 7/21/2020, at                   (date of                        Defendants Blake and Little, then reported his findings to Defendant Mulrenin.
                                           Report                     Carl Pepper
                        2.                           interview)
                                                                                      In 2014, Mr. Pepper would call Defendants Little or Blake because Pilgrim’s and George’s were the largest suppliers to KFC. Defendants Little and Blake would also call Mr.         A, B, E, H     N/A
                                                                                      Pepper for competitively sensitive information. Mr. Pepper gave information to them and asked in return to share their respective company’s information with him. Mr. Pepper
               Carl Pepper Interview                 7/17/2020        Carl Pepper
                                         Interview                                    related a conversation with Defendants Little and Blake in which he was asked: Are you doing a substantial increase? and Mr. Pepper replied, Yes. One of them asked if it was
34‐S    N/A    Report 7/17/2020, at                   (date of         Ric Blake
                                           Report                                     more than 10 cents and he said Yes.
                        2.                           interview)      Jimmie Little
                                                                                      Mr. Pepper reported to Defendant Mulrenin any time he learned competitively sensitive information.
                Carl Pepper Interview                7/17/2020                        Defendant Mulrenin would say to Mr. Pepper, Why don’t you call Jimmie Little or Why don’t you call Ric Blake, to find information.                                                 A, B, D, E, G   N/A
                                       Interview
35‐S    N/A     Report 7/17/2020, at                    (date of   Timothy Mulrenin
                                         Report
                         3.                           interview)
                Carl Pepper Interview                7/17/2020                        During phone calls on or about August 25 and/or 28, 2014, Mr. Pepper learned competitor information from Defendant Blake regarding KFC, Popeye's and Church's contracts,              A, B, E      N/A
                                       Interview                      Carl Pepper
36‐S    N/A    Report 7/17/2020, at 3‐                  (date of                      and reported it to Defendant Mulrenin.
                                         Report                        Ric Blake
                         4.                           interview)
                                                       7/9/2020                       Mr. Pepper had a conversation in July 2014 with Defendant Little about substantial price increases. Mr. Pepper learned about Tyson’s increase from Defendant Roberts. Mr.             A, B, E      N/A
               Carl Pepper Interview     Interview                    Carl Pepper
37‐S    N/A                                             (date of                      Pepper believed he asked Pilgrim's if they also were having a price increase.
               Report 7/9/2020, at 4.      Report                    Jimmie Little
                                                      interview)
                                                       7/9/2020                       On or about August 8, 2014, Mr. Pepper and Defendant Little had one or more phone calls in which they discussed 2015 contracts.                                                       A, B, E      N/A
               Carl Pepper Interview     Interview                    Carl Pepper
38‐S    N/A                                             (date of
               Report 7/9/2020, at 4.      Report                    Jimmie Little
                                                      interview)
                                                       7/9/2020                       Though he did not recall the time and place, Mr. Pepper recalled Defendant Mulrenin asked him to reach out to competitors and report back about pricing.                           A, B, D, E, G   N/A
               Carl Pepper Interview     Interview
39‐S    N/A                                             (date of   Timothy Mulrenin
               Report 7/9/2020, at 5.      Report
                                                      interview)
                                                       7/9/2020       Carl Pepper     Mr. Pepper remembered having conversations about price increases with Defendants Blake and Little. The information gleaned from both conversations was reported back to             A, B, E, H     N/A
               Carl Pepper Interview     Interview
40‐S    N/A                                             (date of       Ric Blake      Mr. Pepper's superiors. The conversations occurred before customer, specifically KFC, contracts were final.
               Report 7/9/2020, at 5.      Report
                                                      interview)     Jimmie Little
               Carl Pepper Interview                 11/25/2019                       In approximately September 2017 Mr. Pepper contacted Defendant Blake about the length of the contract. KFC was negotiating a multi‐year contract and he wanted a similar              A, B, E      N/A
                                         Interview                    Carl Pepper
41‐S    N/A    Report 11/25/2019, at                    (date of                      plan for Popeye’s. Mr. Pepper wanted to get on the same page as Blake.
                                           Report                      Ric Blake
                        5.                            interview)
                                                                   Timothy Mulrenin Mr. Pepper was asked by Defendant Mulrenin or Roberts at the conclusion of the meeting to find out competitor numbers. Mr. Pepper stated he called competitors, most likely A, B, D, E, G, H N/A
                                                                     Brian Roberts  Defendants Blake, Austin, and Brady and each of their respective companies had a 14‐16 cent increase.
               Carl Pepper Interview                 11/25/2019
                                         Interview                    Carl Pepper
42‐S    N/A    Report 11/25/2019, at                   (date of
                                           Report                      Ric Blake
                        6.                            interview)
                                                                     Roger Austin
                                                                      Scott Brady
                                                                                    Starting in or around 2011, Mr. Pepper began sharing competitive pricing information with Defendant Blake, who contacted Mr. Pepper saying he had other suppliers’ prices for  A, B, C, E    N/A
                                                                                    KFC and Popeye’s. Kelly Foods gave Defendant Blake the prices, but did not have Tyson's prices because the two companies did not do
               Carl Pepper Interview                 10/4/2019                      business together. Defendant Blake went on to ask for Tyson's prices; Mr. Pepper supplied them.
                                         Interview                    Carl Pepper
43‐S    N/A    Report 10/4/2019, at                   (date of
                                           Report                      Ric Blake
                       6, 7.                         interview)                     At the onset of the price sharing relationship, Mr. Pepper provided Defendant Blake the true and current prices for Tyson. Over time, Mr. Pepper began giving fake prices.
                                                                                    There were times Mr. Pepper would provide prices that were slightly higher or lower than Tyson's actual price. The phone calls were monthly and consisted of sharing prices
                                                                                    after they had been submitted to the customer. The phone calls continued during contract negotiation periods.


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                                                                                                                                                                                                                                                                              Bases of
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                                         document
                                                                                                                                                                                                                                                                            admissibility
               Carl Pepper Interview                 10/4/2019                        Mr. Pepper called Defendant Little to see how much of the savings would be passed on to Boston Market. Mr. Pepper assumed Pilgrim's would pass along $0.0023 in savings to              A, B, D, E  N/A
                                      Interview                       Carl Pepper
44‐S    N/A   Report 10/4/2019, at 7‐                 (date of                        Boston Market. The phone call was helpful because it allowed Tyson to know what Pilgrim's would do. It helped Tyson determine what savings Pilgrim's calculated and planned
                                        Report                       Jimmie Little
                        8.                           interview)                       to pass along to Boston Market.
                                                                                      Towards the end of our lunch, the topic of chicken came up for pricing for next year. And Jimmie said: It's going to be 2. I said, 2 cents? He said, No. It will start with a 2.          A, P        Limiting
                                                                                                                                                                                                                                                                                            instruction:
               Trial testimony of Mr.                11/16/2021                                                                                                                                                                                                                             party admission
                                            Trial
45‐S    N/A   Joseph Brink . Brink Tr.                 (date of      Jimmie Little                                                                                                                                                                                                          against
                                         testimony
                   T. at 70: 13‐24.                  testimony)                                                                                                                                                                                                                             Defendant Little.


                                                                                      On September 22, 2014, during a telephone call with Defendant Little:                                                                                                                      A          Limiting
                                                                                                                                                                                                                                                                                            instruction:
              Trial testimony of Mr.                 11/16/2021
                                            Trial                                     A. We discussed 2015 pricing, that Jimmie presented a 19 cents a pound. And I asked why was this high. I wanted to talk about why so high when the cost of grain was going                            party admission
46‐S    N/A   Joseph Brink. Brink Tr.                  (date of      Jimmie Little
                                         testimony                                    down. And I was ‐‐ I was told we're not doing that this year. That was in the past. Going forward we want the same margins as the large bird plants. There is no discussion and                       against
                T. at 60:25‐61:14.                   testimony)
                                                                                      this is the price.                                                                                                                                                                                    Defendant Little.

                                                                                      On or about October 3, 2014, during a telephone call Defendant Little stated to the effect:                                                                                                A          Limiting
                                                                                                                                                                                                                                                                                            instruction:
              Trial testimony of Mr.                 11/16/2021
                                            Trial                                     That the pricing that we have submitted, meaning Pilgrim's, was the final pricing, and we have to secure chicken for both companies. And he gave me our volumes, and the                              party admission
47‐S    N/A   Joseph Brink. Brink Tr.                  (date of      Jimmie Little
                                         testimony                                    volumes he gave to us that he was going to let me have for the company was less than we had before.                                                                                                   against
                T. at 84:22‐86:23.                   testimony)
                                                                                                                                                                                                                                                                                            Defendant Little.

                                                                                      After receiving the 2014 bids for calendar year 2015’s supply, Mr. Lewis called each supplier individually and challenged suppliers on their proposals. The general atmosphere as          A          Not elicited.
              Robert Lewis Interview                 10/22/2021      Roger Austin
                                         Interview                                    it related to the price increases was take it or leave it. Mr. Lewis remembers Defendants Austin, Kantola, and Roberts each generally having this attitude, while the other
48‐S    N/A   Report 10/22/2021, at                    (date of       Bill Kantola
                                           Report                                     suppliers were more congenial, though largely held to their increases. Based on Mr. Lewis' experience, the take it or leave it sentiment was out of character. His previous
                        4.                            interview)      Scott Brady
                                                                                      relationship had been excellent with suppliers, and they were always willing to negotiate.
              James Olson Interview                  10/22/2021                       During a meeting with Defendant Roberts in 2014 Mr. Olson told Defendant Roberts that a penny a pound increase would equal a $500,000 increase to HMC. This statement                      A          Testimony
                                         Interview
49‐S    N/A   Report 10/22/2021, at                    (date of     Brian Roberts     was made because Defendant Roberts was increasing the prices of chicken by 10 cents per pound. The quality distributor for HMC was also in attendance at the meeting and                              elicited
                                           Report
                         2                            interview)                      Defendant replied that he could not do anything to lower the price.
                Eric Oare Interview                   1/10/2022                       When Mr. Oare was working at Marshall Durbin he received a call from Defendant Kantola asking for pricing on splits for El Pollo Loco to compare notes.                                   A, B        Witness not
                                         Interview
50‐S    N/A    Report 1/10/2022, at                    (date of    William Kantola                                                                                                                                                                                                          called.
                                           Report
                         2.                           interview)
               Telly Smith Interview                 10/20/2021                       Mr. Tucker called Mr. Smith while Smith was in his driveway and told him that he had an hour to accept the price proposed by Pilgrim’s Pride. The situation felt like a reversal of        A          Testimony
                                         Interview
51‐S    N/A   Report 10/20/2021, at                    (date of      Scott Tucker     the bid process, as if he was competing for the supply rather than Pilgrim’s Pride was competing to supply him. This market environment was unusual for the chicken industry.                         elicited.
                                           Report
                         3.                           interview)                      SMITH described TUCKER as being cordial, but having a take‐it‐or‐leave‐it attitude.
                                                      11/7/2021                       Accept our price in one hour. Mr. Tucker said this to Mr. Smith in a phone conversation. In 2014, likely October. Mr. Smith was in his driveway.                                           A          Testimony
              Telly Smith Interview      Interview
52‐S    N/A                                            (date of      Scott Tucker                                                                                                                                                                                                           elicited.
               11/7/2021, at 15.           Report
                                                      interview)
                                                                                      Defendants Roberts and Blake each stated that they were unable to help by providing a lower price.                                                                                         A          Testimony
               Trial testimony of Mr.                10/27/2021
                                            Trial                   Brian Roberts                                                                                                                                                                                                           elicited.
53‐S    N/A   James Olson. Olson Tr.                   (date of
                                         testimony                    Ric Blake
               T. 84:11‐20, 85:1‐18.                 testimony)
              Trial testimony of Mr.                                                  Defendant Austin and Mr. Tucker provided Mr. Bryant with competitor price information to increase prices or limit price decreases to be accomplished together as competitors.         A, B, C, E, F   Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                    Roger Austin                                                                                                                                                                                                           elicited.
54‐S    N/A                                            (date of
              Tr. T. 11/1/2021 at 16‐    testimony                   Scott Tucker
                                                     testimony)
                         18
                                                                                      Jason McGuire instructed Defendant Austin to provide price negotiation and price increase information to Pilgrim's competitors                                                        A, B, E, F, G   Testimony
              Trial testimony of Mr.
                                                     11/1/2021                                                                                                                                                                                                                              elicited.
              Robert Bryant. Bryant         Trial
55‐S    N/A                                            (date of     Jason McGuire
              Tr. T. 11/1/2021 at 18‐    testimony
                                                     testimony)
                      19, 33‐34.
              Trial testimony of Mr.                                                  In 2017 Mr. Bryant received a phone call from Roger Austin where he provided competitor pricing to formulate bids in 2017.                                                            A, B, E, F, H   Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                           elicited.
56‐S    N/A                                            (date of      Roger Austin
              Tr. T. 11/1/2021 at 24‐    testimony
                                                     testimony)
                         26.
              Trial testimony of Mr.                                                  Over the course of the years there were many, many times that Roger Austin called Mr. Bryant and relayed information from various competitors and their position on a whole A, B, E, F, G, H Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                     host of subjects, so it was common place for him to talk to people outside or with competitors and then relay that information                                                               elicited.
57‐S    N/A                                            (date of      Roger Austin
              Tr. T. 11/1/2021 at 24‐    testimony                                    back. This included current and future pricing.
                                                     testimony)
                         26.
              Trial testimony of Mr.                                                  Defendant Austin told Mr. Bryant that he had everyone's pricing dating back to the nineties.                                                                                              A, B        Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                           elicited.
58‐S    N/A                                            (date of      Roger Austin
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)
                         26.
              Trial testimony of Mr.                                                  In Phone conversations in the 2014‐15 timeframe, Defendant Little had conversations with Mr. Bryant in he relayed information from conversations he had with a person at                 A, B, E      Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                     Holmes and a person at Tyson Foods regarding price submissions.                                                                                                                                       elicited.
59‐S    N/A                                            (date of      Jimmie Little
              Tr. T. 11/1/2021 at 30‐    testimony
                                                     testimony)
                         31.
              Trial testimony of Mr.                                                  Robert Bryant instructed Scott Tucker to enter into an agreement with Mar‐Jac to raise prices to US Foods.                                                                            A, B, E, F, G   Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                           elicited.
60‐S    N/A                                            (date of     Robert Bryant
              Tr. T. 11/1/2021 at 36‐    testimony
                                                     testimony)
                         37
                                                                                      In telephone conversations, Mr. Bryant permitted Mr. Gay to agree to a discount with Popeye's because the competitors were already aligned that discount. This occurred                A, B, G, H     Testimony
              Trial testimony of Mr.               11/1/2021
                                                                    Robert Bryant     approximately in 2017.                                                                                                                                                                                elicited.
61‐S    N/A   Robert Bryant. Bryant Trial testimony (date of
                                                                     Justin Gay
              Tr. T. 11/1/2021 at 39.              testimony)
                                                                                      Mr. Gay stated that Pilgrim's competitors had already agreed to a discount for the promotion and we needed to do the same or ‐‐ we needed to do                                           A, B        Testimony
              Trial testimony of Mr.
                                                     11/1/2021                        the same discount or else it would look bad on us from our customer that we didn't concede a discount for the promotion.                                                                              elicited.
              Robert Bryant. Bryant         Trial
62‐S    N/A                                            (date of       Justin Gay
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)
                40:17‐25, 41:1‐6.
              Trial testimony of Mr.                                                  The three names of person outside Pilgrim's that Mr. Bryant heard most‐often as engaged in price fixing were Defendants Brady and Kantola, and Carl Pepper.                              A, C, E      Testimony
                                                     11/1/2021     Roger Austin and
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                           elicited.
63‐S    N/A                                            (date of       unnamed
              Tr. T. 11/1/2021 at 41‐    testimony
                                                     testimony)     coconspirators
                         42.


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                                         document
                                                                                                                                                                                                                                                                      admissibility
              Trial testimony of Mr.                                                Defendants Kantola and Austin shared price information to raise prices together and prevent decreases together.                                                                      A, B, E    Testimony
                                                     11/1/2021
              Robert Bryant. Bryant       Trial                   William Kantola                                                                                                                                                                                                   elicited.
64‐S    N/A                                            (date of
              Tr. T. 11/1/2021, at 45‐ testimony                   Roger Austin
                                                     testimony)
                         47.
                                                                                    Mr. Bryant overheard a conversation between Defendants Austin and Brady, and Defendant Austin relayed inforamtion to Mr. Bryant over the 2014‐2017 time period about                  A, B, E,     Testimony
              Trial testimony of Mr.
                                                     11/1/2021                      conversations between those two defendants. The purpose of the conversations was to provide competitive information to raise prices together.                                                      elicited.
              Robert Bryant. Bryant       Trial                     Scott Brady
65‐S    N/A                                            (date of
              Tr. T. 11/1/2021, at 47‐ testimony                   Roger Austin
                                                     testimony)
                      49, 69‐70
              Trial testimony of Mr.                                                Defendant Austin told Mr. Bryant about his tracking of current prices. Defendant Austin kept that information to be used when needed, including for contract negotiations.           A, B, E, F    Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                      elicited.
66‐S    N/A                                            (date of    Roger Austin
              Tr. T. 11/1/2021, at 73‐   testimony
                                                     testimony)
                         74.
              Trial testimony of Mr.                               Roger Austin     Defendant Austin exchanged future pricing with competitors. Austin also relayed inforamtion to Mr. Bryant. Mr. Bryant overheard a conversation between Defendants Austin             A, B, E, F    Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                   Scott Brady     and Brady during the KFC bid 2014. Among other things, these defendants discussed Pilgrim's position after submitting the first round bid of a multi‐round bid process.                            elicited.
67‐S    N/A                                            (date of
              Tr. T. 11/1/2021, at 74‐   testimony                   unnamed
                                                     testimony)
                         77.                                      coconspirators
              Trial testimony of Mr.                                                Defendant Austin told Mr. Bryant about conversations he had with Carl Pepper. These conversations included sharing price inforamtion for the purpose of raising prices             A, B, E, F, H   Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                   together and/or resisting price decreases together.                                                                                                                                                elicited.
68‐S    N/A                                            (date of    Roger Austin
              Tr. T. 11/1/2021, at 76‐   testimony
                                                     testimony)
                         79.
              Trial testimony of Mr.                                                Mr. McGuire through communications with Mr. Bryant including phone conversations informed Mr. Bryant that during 2014 Pilgrim's competitors were negotiating similarly                A, B, H      Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                   high prices increases in the 15‐to‐20 cent range as Pilgrim's.                                                                                                                                     elicited.
69‐S    N/A                                            (date of   Jason McGuire
              Tr. T. 11/1/2021, at 87‐   testimony
                                                     testimony)
                         89.
              Trial testimony of Mr.                                                Defendant Austin provided on numerous occasions information to Mr. Bryant about his conversations with Defendant Brady of Claxton and Defendant Kantola of Koch..                   A, B, E, H     Testimony
                                                     11/1/2021     Roger Austin
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                      elicited.
70‐S    N/A                                            (date of     Scott Brady
              Tr. T. 11/1/2021, at 95‐   testimony
                                                     testimony)     Bill Kantola
                         97.
                                                                                    During a phone call Defendant Austin provided Mr. Bryant with competitor pricing information for Pilgrim's bid to KFC in 2017.                                                      A, B, E, H     Testimony
              Trial testimony of Mr.
                                                     11/1/2021                                                                                                                                                                                                                         elicited.
              Robert Bryant. Bryant         Trial
71‐S    N/A                                            (date of    Roger Austin
               Tr. T. 11/1/2021, at      testimony
                                                     testimony)
                      101‐103.
                                                                                    In January 2017, Mr. Stiller asked Mr. Bryant if he had pricing information from Defendant Austin. Mr. Bryant had not received anything from Defendant Austin at that point.        A, B, G, H     Testimony
                                                                                    Mr. Stiller got upset and his words were, You don't know shit. I'll call and get it myself or I'll find out for myself. And then he hung up the phone.                                             elicited.
              Trial testimony of Mr.
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                 Timothy Stiller
72‐S    N/A                                            (date of                     Mr. Bryant relayed to Defendant Austin that Mr. Stiller was upset that Mr. Bryant didn't have the pricing information he wanted. And Defendant Austin said that he had a
              Tr. T. 11/1/2021 119‐      testimony                Robert Bryant
                                                     testimony)                     similar call and that he would make some calls and get back to Mr. Bryant. When Defendant Austin called he said, Are you ready? I got it. And
                        121.
                                                                                    then he relayed to pricing and customer names.

              Trial testimony of Mr.                                                Defendant Austin provided comeptitor pricing information that Mr. Bryant recorded in his notebook.                                                                                 A, B, E, F, H   Testimony
                                                     11/1/2021
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                      elicited.
73‐S    N/A                                            (date of    Roger Austin
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)
                      122‐33.
              Trial testimony of Mr.                                                Mr. Bryant called Tim Stiller and gave him the competitor price information so they could have a conversation about the upcoming bid. During a conversation Tim Stiller and        A, B, E, F, H   Testimony
                                                     11/1/2021    Roger Austin
              Robert Bryant. Bryant         Trial                                   Roger Austin (either at the same time or separately) they developed a model that put Pilgrim's second in price. However, before they submitted that bid, and either Tim Stiller                    elicited.
74‐S    N/A                                            (date of     Tim Stiller
               Tr. T. 11/1/2021 at       testimony                                  or Roger Austin said that they didn't feel like Pilgrim's needed to be more middle of the pack, so they submitted their price third in line.
                                                     testimony)   Robert Bryant
                        138.
                                                                                    In 2017, when Pilgrim's was negotaiting a price increase with US Foods. Scott Tucker was instructed to communicate with Mar‐Jac, which was Pilgrim's competitor for the            A, B, E, G, H   Testimony
              Trial testimony of Mr.
                                                     11/1/2021    Robert Bryant     business.                                                                                                                                                                                          elicited.
              Robert Bryant. Bryant         Trial
75‐S    N/A                                            (date of   Timothy Stiller
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)    Scott Tucker
                140‐142, 144‐152.
              Trial testimony of Mr.                                                Defendant Austin and Messers Stiller and Bryant had discussions after the first‐round bid to KFC in 2017 to weigh their options.                                                         A         Testimony
                                                     11/1/2021    Timothy Stiller
              Robert Bryant. Bryant         Trial                                                                                                                                                                                                                                      elicited.
76‐S    N/A                                            (date of   Robert Bryant
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)    Roger Austin
                        142
                                                                                    Mr. Stiller was upset when relaying a conversation he had with Defendant Austin. A short time ago Stiller instructed Defendant Austin to tell the industry that Pilgrim's was     A, B, E, F, G, H, Testimony
              Trial testimony of Mr.
                                                     11/1/2021                      going to hold its price or find a new hunderd‐million dollar customer.                                                                                                                    J         elicited.
              Robert Bryant. Bryant         Trial
77‐S    N/A                                            (date of   Timothy Stiller
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)
                      142‐143
                                                                                    Jason McGuire told Robert Bryant in 2014 about the plan for price increases to QSRs. Mr. McGuire said he they would blitz the customers. Mr. McGuire asked Mr. Bryant to              A, E, F      Testimony
              Trial testimony of Mr.
                                                     11/1/2021                      prepare a slide presentation for the customer blitz.                                                                                                                                               elicited.
              Robert Bryant. Bryant         Trial
78‐S    N/A                                            (date of   Jason McGuire
               Tr. T. 11/1/2021 at       testimony
                                                     testimony)
                      155‐160
                                                                                    In 2014, after a customer meeting, there was a conversation in which Defefndant Austin and Messers Bryant, Gay, and McGuire were present. McGuire instructed Austin to put A, B, D, E, F, G, Testimony
              Trial testimony of Mr.
                                                     11/1/2021                      this out to the industry, referring to a price increase and Pilgrim's purported justification for the increase.                                                                  J, P        elicited.
              Robert Bryant. Bryant         Trial
79‐S    N/A                                            (date of   Jason McGuire
              Tr. T. 11/1/2021 162‐      testimony
                                                     testimony)
                      65, 470.
                                                                                    Mr. McGuire told Mr. Bryant that a method other than blind bid would be used for KFC.                                                                                                              Testimony
              Trial testimony of Mr.
                                                     11/2/2021                                                                                                                                                                                                                         elicited.
              Robert Bryant. Bryant         Trial
80‐S    N/A                                            (date of   Jason McGuire
               Tr. T. 11/2/2021 at       testimony
                                                     testimony)
                      197‐199.
              Trial testimony of Mr.                                                In a meeting with RSCS regarding price negotiations, Defendant Austin said words to the effect that there was no negotiation on the price and he just needed to know how               A, F        Testimony
                                                     11/2/2021
              Robert Bryant. Bryant         Trial                                   many loads RSCS wanted to buy.                                                                                                                                                                     elicited.
81‐S    N/A                                            (date of    Roger Austin
               Tr. T. 11/2/2021 at       testimony
                                                     testimony)
                      211‐12.



                                                                                                                                             Page 7
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                                                                                                                                                                                                                                                                                 Bases of
                                         Type of
Log #   GX          Description                       Date        Declarant(s)                                                                                          Statement(s)                                                                                           801(d)(2)(E)        History
                                        document
                                                                                                                                                                                                                                                                               admissibility
                                                                                   Defendant Austin was on the phone saying something to the effect of: I told them the price is the price. I just need to know how many loads they want at that price. When he                A, B, E, G, H Testimony
               Trial testimony of Mr.                                              hung up the phone, Defendant Austin told Mr. Austin that it was either Defendant Kantola or Defendant Brady. And then it was a very short time later he was on the phone                                  elicited.
                                                    11/2/2021
               Robert Bryant. Bryant       Trial                                   with someone else and basically repeated the same sentence: The price is the price. I just need to know ‐‐ I told him the price is the
82‐S    N/A                                           (date of    Roger Austin
               Tr. T. 11/2/2021 213‐    testimony                                  price. I just need to know how many loads they want at that price. Defendant Austin announced to Mr. Bryant who he was on the phone with at that time as well and same
                                                    testimony)
                  215, 399‐400:1.                                                  thing ‐‐ it was Defendant Brady or Kantola. At the conclusion of one of the calls Defendant Austin stated: That was Brady.

               Trial testimony of Mr.                                              Mr. McGuire reassured Mr. Bryant in 2014 that Pilgrim's competitors were going along with the price increase.                                                                               A, B, E, F, H   Testimony
                                                    11/2/2021
               Robert Bryant. Bryant       Trial                                                                                                                                                                                                                                               elicited.
83‐S    N/A                                           (date of   Jason McGuire
                Tr. T. 11/2/2021 at     testimony
                                                    testimony)
                       217‐18.
                    Robert Bryant                   8/11/2021                      BRYANT heard AUSTIN say he would call KANTOLA and BRADY to see what their companies were doing numerous times.                                                                                  A, B        Testimony
                                        Interview
84‐S    N/A       Interview Report                   (date of     Roger Austin                                                                                                                                                                                                                 elicited.
                                          Report
                      8/11/2021                     interview)
                                                                                   In a meeting approximately in the fall of 2014 during contract negotiations, Pilgrim's Pride was blunt, saying they were to increase their price. It was going to be big. They told            A, B, E      Witness was not
               Recording of interview
                                                                                   Mr. Suerken all the reasons why there's nothing Mr. Suerken could do about it.                                                                                                                              called.
                with Peter Suerken                  3/24/2021
                                        Interview
85‐S    N/A      (FBI‐DOJ026‐002‐                    (date of     Roger Austin
                                        Recording                                  Defendant Austin also told Mr. Suerken the identities of all the suppliers that were meeting with Mr. Suerken or his colleagues around the same time. Defendant Austin also
                00000001, at 10:30‐                 interview)
                                                                                   hinted that the industry is small and [at this time or on another occasion] indicated that he knew which suppliers have available loads of chicken supply and which ones do not.
                12:03, 37:20‐38:15)
                                                                                   During contract negotiations in 2014, Defendant Fries indicated to Mr. Suerken that he did not want Claxton to be highest priced and did not want to be lowest priced.                           A          Witness was not
               Recording of interview
                                                                                                                                                                                                                                                                                               called.
                with Peter Suerken                  3/24/2021
                                        Interview
86‐S    N/A      (FBI‐DOJ026‐002‐                    (date of      Mikell Fries
                                        Recording
                00000001, at 28:19‐                 interview)
                      28:45).
                                                                                   In a meeting in 2014 regarding contract negotiations that occurred at a barbeque restaurant, Defendant Austin stated that RSCS could not take chicken volume (i.e., loads) away                 A, B        Witness was not
               Recording of interview
                                                                                   from Pilgrim's Pride.                                                                                                                                                                                       called.
                with Peter Suerken                  3/24/2021
                                        Interview
87‐S    N/A      (FBI‐DOJ026‐002‐                    (date of     Roger Austin
                                        Recording
                00000001, at 28:59‐                 interview)
                      32:02).
                                                                                   In a phone call between Defendant Lovette, Mr. Steve McCormick, and Mr. Suerken, Lovete stated every reason in the world for the price increase which he was sticking with.                      A          Witness was not
               Recording of interview
                                                                                   Lovette also stated words to the effect of: you don't have the loads and you're buying my hundred trucks.                                                                                                   called.
                with Peter Suerken                  3/24/2021
                                        Interview
88‐S    N/A      (FBI‐DOJ026‐002‐                    (date of    William Lovette
                                        Recording
                00000001, at 32:03‐                 interview)
                      32:58).
                                                                                   At a meeting in Colorado, Defendant Lovette stated that he planned to take away the Moorefield, Kentucky plant from RSCS and service Chick‐Fil‐A instead because Chick‐Fil‐A                     A          Witness was not
               Recording of interview
                                                                                   would pay higher prices. Lovette added that his investors love to hear stories on public calls about how Chick‐Fil‐A is growing their business, paying large margins, and is a great                        called.
                with Peter Suerken                  3/24/2021
                                        Interview                                  partner. Lovette responded to Mr. Suerken by saying the 20 loads that Mr. Suerken stated he planned to switch to another supplier were immaterial to Lovette.
89‐S    N/A      (FBI‐DOJ026‐002‐                    (date of    William Lovette
                                        Recording
                00000001, at 33:58‐                 interview)
                      34:30).
                                                                                   RA: Left you a voice mail. I have about 30 minutes to get the answer to them or it will be too late. Thanks!                                                                                    A, H        New Exhibit

                                                                                   JP: You own this business . What do you do? I am on a conf call ‐ on going.

                                                                                   RA: I do own it and I think we have to do this to protect our market share. I think going backwards in volume would be playing into our competitors hands.
               Emails between Roger                                                I will protect our margin going forward and will watch closely what is happening as the year progresses. If we can inch it back up in coming quarters I will. Maybe we can make
               Austin and Jayson Penn                                              this up with additional tender business and bites. I do not anticipate having to address the dark meat weights but it is a possibility.
                                                                  Roger Austin
90‐S    9870    on or about 1/27/2012    E‐mail     1/27/2012
                    (PILGRIMS-
                                                                  Jayson Penn
                                                                                   With your support that is what I am going to do.
                    0005827827).
                                                                                   JP: What weight are you thinking about?

                                                                                   RA: I spoke with the two distributors in Atlanta that are bidding this and it looks like we have no choice but to go to 45.5. That still puts us higher but only slightly. I was thinking
                                                                                   45.6 before I heard what they had to say but I think it puts us too far out.. I also think we need to throw in that we will look at 2 day per week delivery if that is what he wants
                                                                                   and it would be cheaper.




                                                                                                                                              Page 8
